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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION

PAISIT BENCHARIT                         )
                                         )
                     v.                  )   Cause No. 2:08-CV-164 RM
                                         )   (Arising out of 2:02-CR-34(03) RM)
UNITED STATES OF AMERICA                 )
                                         )

                               OPINION AND ORDER

      On August 22, 2007, Paisit Bencharit pleaded guilty to Count 3 of a three-

count indictment charging him with knowingly and intentionally aiding and

abetting the possession of heroin with the intent to distribute, in violation of 21

U.S.C. § 841(a)(1) and 18 U.S.C. § 2. Mr. Bencharit then moved to withdraw his

guilty plea, and the court denied the motion, finding that Mr. Bencharit hadn’t

presented a fair and just reason that would warrant withdrawal. On November 9,

2007, the court sentenced Mr. Bencharit to a term of 70 months’ imprisonment

on Count 3, to be followed by a three-year term of supervised release. The court

also ordered Counts 1 and 2 against Mr. Bencharit dismissed on the government’s

motion. Mr. Bencharit is now before the court requesting that his sentence be

vacated pursuant to 28 U.S.C. § 2255 based on his claims of ineffective assistance

of counsel. For the reasons that follow, the court denies Mr. Bencharit’s petition.

      The rules governing petitions filed under 28 U.S.C. § 2255 provide the once

a motion is filed,

             [t]he motion, together with all the files, records, transcripts, and
      correspondence relating to the judgment under attack, shall be examined
      promptly by the judge to whom it is assigned. If it plainly appears from the
      face of the motion and any annexed exhibits and the prior proceedings in
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      the case that the movant is not entitled to relief in the district court, the
      judge shall make an order for its summary dismissal and cause the movant
      to be notified.

Rule 4(b), Rules Governing Section 2255 Proceedings for the United States District

Courts.

      Examination of Mr. Bencharit’s plea agreement reveals that he waived his

right to appeal his conviction and to contest his sentence in a § 2255 proceeding.

Mr. Bencharit’s plea agreement, signed by Mr. Bencharit, his attorney Phillip

Skodinski, and Assistant United States Attorney Diane Berkowitz contains the

following language in paragraph 7(d):

             (d) I understand that the law gives a convicted person the right to
      appeal the conviction and the sentence imposed; I also understand that no
      one can predict the precise sentence that will be imposed, and that the
      Court has jurisdiction and authority to impose any sentence within the
      statutory maximum set for my offense(s) as set forth in this plea agreement;
      with this understanding and in consideration of the government’s entry into
      this plea agreement, I expressly waive my right to appeal or to contest my
      conviction and my sentence and any restitution order imposed or the
      manner in which my conviction or my sentence or the restitution order was
      determined or imposed, to any Court on any ground, including any claim
      of ineffective assistance of counsel unless the claimed ineffective assistance
      of counsel related directly to this waiver or its negotiation, including any
      appeal under Title 18, United States Code, Section 3742 or any post-
      conviction proceeding, including but not limited to, a proceeding under Title
      18, United States Code, Section 2255.

Despite the waivers and admissions in his plea agreement, Mr. Bencharit now

asks that his sentence be vacated, set aside, or corrected pursuant to 28 U.S.C.

§ 2255.

      The waiver in a plea agreement of a right to appeal is enforceable “as long

as the record clearly demonstrates that it was made knowingly and voluntarily,”

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United States v. Williams, 184 F.3d 666, 668 (7th Cir. 1999); United States v.

Feichtinger, 105 F.3d 1188, 1190 (7th Cir. 1997), and a waiver of relief under 28

U.S.C. § 2255 is enforceable within limits. Mason v. United States, 211 F.3d 1065,

1069 (7th Cir. 2000). Specifically, “the right to mount a collateral attack pursuant

to § 2255 survives only with respect to those discrete claims which relate directly

to the negotiation of the waiver.” Jones v. United States, 167 F.3d 1142, 1145 (7th

Cir. 1999).

      Although Mr. Bencharit waived the right to attack his sentence, he contests

the validity of the waiver by arguing that various actions and inactions of his

counsel rendered counsel’s representation ineffective in violation of the Sixth

Amendment, thereby justifying his claim for relief under § 2255. To prevail on his

claims of ineffective assistance of counsel, Mr. Bencharit must show that his

counsel’s performance was “objectively unreasonable or deficient and that he was

prejudiced as a result.” Strickland v. Washington, 466 U.S. 668, 687 (1984). Mr.

Bencharit must point to specific acts or omissions by his counsel that constitute

ineffective assistance, and the court must determine whether these acts or

omissions were made outside the wide range of professionally competent

assistance. Berkey v. United States, 318 F.3d 768, 772 (7th Cir. 2003). “Even if

counsel's performance was deficient, [Mr. Bencharit] must also show that ‘there

is a reasonable probability that, but for [counsel’s] unprofessional errors, the

result of the proceeding would have been different,’ meaning ‘a probability

sufficient to undermine confidence in the outcome.’ ” Eckstein v. Kingston, 460

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F.3d 844, 849 (7th Cir. 2006). “Prejudice in the context of a guilty plea requires

a showing that but for counsel’s deficient performance, [Mr. Bencharit] would not

have pleaded guilty.” Galbraith v. United States, 313 F.3d 1001, 1008 (7th Cir.

2002).

      Mr. Bencharit claims that his plea was “unknowing and involuntary”

because his counsel didn’t explain in detail the implications of the agreement or

leave him a copy for his personal review, rendering counsel’s assistance

constitutionally ineffective. Mr. Bencharit says that because he isn’t a United

States citizen, he is unfamiliar with the legal system and didn’t understand the

charge to which he pleaded. He believes that he pleaded guilty by mistake because

he did not actually possess any heroin. The court considered this same argument

upon Mr. Bencharit’s request to withdraw his plea and found no reason to believe

that Mr. Bencharit had merely been misinformed regarding the law.

      THE COURT: Mr. Bencharit told Judge Nuechterlein under oath at
      the time of his guilty plea that he understood the charge, and I
      believe he did at the time . . . Judge Nuechterlein told him he could
      face prison for as long as 20 years, no matter what he thought he was
      going to get that day, and he said he understood that. He told Judge
      Nuechterlein that he thought he was guilty. He admitted a factual
      basis for the plea. And at pages 19 through 21 of the plea transcript,
      Mr. Bencharit admitted that he knowingly and intentionally aided
      and abetted the possession of a controlled substance, specifically
      heroin, with the intent to distribute.

      The Judge asked what he did that makes him think that. Mr.
      Bencharit said that he knew it was a controlled substance so he did
      wrong. The Judge pressed onward. Mr. Bencharit said: I advised
      those people who were arrested in Indiana to contact another person,
      that this is a controlled substance, so that’s why I was guilty. Then
      the Judge asked: Are you – are you saying that you advised and

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      counseled others who were engaged in either the possession or sale
      of heroin, and Mr. Bencharit answered: Yes. The Judge then asked
      Ms. Berkowitz to summarize her anticipated evidence at trial, and she
      did so, and Mr. Bencharit said it was correct.

      So even today while Mr. Bencharit says he is not guilty and wants to
      prove his innocence, I do not understand him to be saying he was not
      guilty of what he pleaded guilty to under Count 3 but that he is not
      guilty of what some other inmate has told him he is charged with
      having done, which is to possess– actually possess heroin while he
      was in a Thai prison.

Sentencing Hrg. Tr., at 11-13; see also Plea Hrg. Tr., at 19-21.

      At his change of plea hearing, Mr. Bencharit acknowledged that he

understood the specifics of his plea agreement and confirmed that his plea was

voluntary and not based on any promises outside the written plea agreement. Plea

Hrg. Tr., at 16-17. He also stated that he was satisfied with the representation of

counsel. Id. at 7. “These representations are presumed truthful,” United States v.

Loutos, 383 F.3d 615, 619 (7th Cir. 2004), and Mr. Bencharit’s claims to the

contrary are unsupported and without merit. See United States v. Suggs, 374 F.3d

508, 520 (7th Cir. 2004) (the defendant’s motion “directly contradicts his

statements at the change of plea hearing; his motion lacks any proof for his

allegations besides his own self-serving assertions.”). Mr. Bencharit “must

overcome the presumption of verity that attaches to [statements made at the Rule

11 colloquy].” United States v. Suggs, 374 F.3d 508, 520 (7th Cir. 2004). He hasn’t

done so.

      Mr. Bencharit also complains that his counsel misinformed him of the

maximum term of imprisonment for his offense and that he endorsed the plea

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agreement based on this information. Mr. Bencharit argues that because his

counsel told him that he was facing 24 months imprisonment, similar to his co-

defendant Jason Burke, counsel’s representation was ineffective and his sentence

should be vacated. The record of the plea hearing proceedings belies this claim:

      THE COURT: Do you understand that if the court reaches a sentence
      that is different than what you believed you would receive, because
      of your discussions with your attorney, that that is not a basis, or
      would not permit you, to withdraw your guilty plea? In other words,
      the court is not bound by any sentence that you may have agreed
      upon. Do you understand that, Mr. Bencharit?

      MR. BENCHARIT: I understand, sir.

Plea Hrg. Tr., at 16.

      Mr. Bencharit also maintains that his counsel didn’t fully question him

about his role in the conspiracy and, thereafter, failed to introduce potentially

exculpatory evidence during his plea hearing. Mr. Bencharit admits that he

participated in the initial drug transaction, but says he didn’t intend to participate

in any additional transactions. Instead, he alleges that the majority of the

communications between the co-conspirators took place without his knowledge

and that he only wished to plead guilty to the amount of drugs purchased with the

initial $1500.00. Despite these claims, Mr. Bencharit hasn’t demonstrated that

his counsel’s performance was objectively unreasonable or that he was prejudiced

as a result. Mr. Bencharit hasn’t offered any evidence that the acts or omissions

of his counsel “were made outside the wide range of professional competent




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assistance” such that the advice rendered by counsel fell “below prevailing

professional norms.” Coleman v. United States, 318 F.3d 754, 758 (7th Cir. 2003).

      Likewise, Mr. Bencharit hasn’t provided adequate support for his argument

that he wouldn’t have entered into the plea agreement but for his counsel’s alleged

errors. To the contrary, Mr. Bencharit continues to admit the facts that make him

guilty of the charge to which he pleaded. In his October 13, 2007 letter to counsel

after the plea hearing, Mr. Bencharit claimed that he was a lesser participant in

the conspiracy, but he didn’t disavow his initial communications with the co-

conspirators or his efforts in furtherance of the conspiracy. Similarly, in his §

2255 motion, Mr. Bencharit admits that he assisted his co-conspirators in

obtaining heroin and does not in any way indicate his innocence. As such,

although Mr. Bencharit disagrees with the length of his sentence, he hasn’t

carried his burden with respect to either prong required to prevail on his claims

of ineffective assistance of counsel.

      Mr. Bencharit’s remaining claims don’t contest the validity of the waiver of

his right to file a § 2255 petition, so those claims are foreclosed by his plea

agreement, in which he expressly waived his right to challenge his conviction and

sentence and the manner in which they were determined or imposed on any

grounds. United States v. Cieslowski, 410 F.3d 353, 364 (7th Cir. 2005). Even if




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the court were to consider Mr. Bencharit’s claims, he wouldn’t be entitled to the

relief he seeks because those claims are without merit.1

       Based on the foregoing, Mr. Bencharit isn’t entitled to the relief he seeks.

His petition filed pursuant to 28 U.S.C. § 2255 [Doc. No. 62] is SUMMARILY

DISMISSED.

       SO ORDERED.

       ENTERED: June 3, 2008

                                                  /s/ Robert L. Miller, Jr.
                                              Chief Judge
                                              United States District Court




       1
         The remaining claims include:
        Mr. Bencharit’s complaint that his counsel didn’t provide him a copy of the Pre-Sentence
Investigation (“PSI”) report, adequately explain the allegations within the report, or provide him an
opportunity to object to those allegations. At the sentencing hearing, however, Mr. Bencharit
confirmed that he had read the report and reviewed it with his attorney, as did counsel. Sentencing
Hrg. Tr., at 14. The court also allowed Mr. Bencharit to explain his disagreement with the proposed
sentencing range on more than one occasion during the hearing. See id. at 14, 22-23. Accordingly,
Mr. Bencharit’s claims regarding the PSI report are without merit.
        Mr. Bencharit also complains that his counsel’s assistance during the sentencing hearing
was ineffective. He argues that his counsel didn’t object to the length of his sentence in comparison
with his co-defendants, didn’t inform the court that Mr. Bencharit wouldn’t be able to participate
in certain drug rehabilitation programs only available to United States citizens, didn’t subpoena
co-defendant Jason Burke to testify at the sentencing hearing, and didn’t ask the court to take Mr.
Bencharit’s age into account when determining a reasonable sentence. Contrary to Mr. Bencharit’s
allegations, counsel did inform the court of Mr. Bencharit’s limited involvement in acquiring the
heroin and made note of his advancing age. The court, in turn, considered Mr. Bencharit’s history
and characteristics pursuant to 18 U.S.C. § 3553 and determined that a sentence at the low end
of the applicable guideline range was reasonable in light of Mr. Bencharit’s age and acceptance of
responsibility. Id. at 23-25. Again, Mr. Bencharit hasn’t demonstrated that his counsel’s
performance was objectively unreasonable rather than a strategic decision. See United States v.
Pergler, 233 F.3d 1005, 1009 (7th Cir. 2000) (“When reviewing ineffective assistance of counsel
claims, we presume that the attorneys made reasonable judgments and decline to second guess
strategic choices.”). Nor has Mr. Bencharit presented convincing evidence that but for his counsel’s
performance, his sentence would have been different. Accordingly, Mr. Bencharit hasn’t shown that
his counsel’s representation was ineffective in violation of the Sixth Amendment.



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